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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

GENERAL MOTORS LLC,
                                                      Case No. 23-cv-04062
                         Plaintiff,
                                                      Judge Franklin U. Valderrama
v.
                                                      Magistrate Judge Jeffrey T. Gilbert
THE PARTNERSHIPS and
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A,”

                         Defendants.


                           PRELIMINARY INJUNCTION ORDER

        THIS CAUSE being before the Court on Plaintiff General Motor LLC’s (“Plaintiff” or

“GM”) Motion for Entry of a Preliminary Injunction as to Defendant Nos. 1-3 and 36-182

(“Defendants”), and the Court having heard the evidence before it hereby GRANTS GM’s Motion

for Entry of a Preliminary Injunction in its entirety against Defendant Nos. 1-3 and 36-182

identified on Schedule A attached hereto (the “Seller Aliases”).

        The Court further finds that it has personal jurisdiction over the Defendants since the

Defendants directly target their business activities toward consumers in the United States,

including Illinois. Specifically, GM has provided a basis to conclude that Defendants have

targeted sales to Illinois residents by setting up and operating e-commerce stores that target United

States consumers using one or more Seller Aliases, offer shipping to the United States, including

Illinois, accept payment in U.S. dollars and/or funds from U.S. bank accounts, and have sold

products using counterfeit and infringing versions of GM’s federally registered trademarks (“GM

Trademarks”) to residents of Illinois. See Exhibit 2 to the Declaration of Andrea Ankawi [R. 19],


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which includes screenshot evidence confirming that each Defendant internet store does stand

ready, willing and able to ship its counterfeit goods to customers in Illinois bearing infringing

and/or counterfeit versions of the GM Trademarks. A list of the GM Trademarks is included in

the below chart.

         Registration No.                                 Trademark
         1,223,115                                     GENERAL MOTORS
         6,775,114                                           GM
         1,633,965                                       DURAGUARD
         4,552,244                                        DURALIFE
         5,367,502; 6,775,114                             DURAMAX
         1,342,435                                          GUIDE
         6,439,852                                         GUIDEX
         4,572,442                                          TECH 2
         5,151,745                                         TUSCAN
         3,252,846                                         VORTEC
         271,167; 314,824; 314,825;
         314,823

         1,685,062; 4,596,433; 1,474,088;
         1,575,170

         1,471,518; 1,661,627; 2,309,369;
         2,311,214; 2,348,249; 2,522,861;                  CHEVROLET
         2,563,091
         2,357,128; 2,308,986; 1,494,385                      CHEVY
         2,313,756; 2,356,823; 2,654,526;
                                                             CAMARO
         3,126,223; 3,628,953; 4,246,081
         2,866,966                                         AVALANCHE
         5,751,576; 2,656,665                                BLAZER
         2,561,229; 4,394,946; 2,059,324                     BEL AIR
         3,185,665                                             C6
         4,646,598                                          CANYON
         2,311,794; 4,431,312; 4,431,313;
                                                            CHEVELLE
         4,431,314; 4,431,315
         4,646,599                                          COLORADO
         1,467,522; 1,494,171; 1,494,980;
         1,495,033; 2,311,215; 2,314,485;                   CORVETTE
         2,463,898
         5,643,759                                       CRUZE PREMIER
         4,382,628                                         EL CAMINO

                                               2
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     2,854,854                                   EQUINOX
     4,444,192                                HIGH COUNTRY
     661,322; 2,311,798; 2,669,222                IMPALA
     4,275,949; 4,275,878                            L88
     4,382,776                                       LT-1
     4,713,011                                       LT1
     2,092,090; 2,663,321                         MALIBU
     2,430,738; 2,681,174                     MONTE CARLO
     1,039,220                                  SILVERADO
     1,519,946; 1,750,042; 4,436,811             STINGRAY
     1,490,090; 2,652,035                       SUBURBAN
     1,880,529; 2,652,036                          TAHOE
     3,537,570                                  TRAVERSE
     4,704,309                                      TRAX
     4,275,899                                 TURBO-FIRE
     4,275,896; 4,275,897                       TURBO-JET
     2,316,536                                       Z/28
     2,008,406; 2,308,988; 2,654,527                 Z71
     4,279,992; 5,566,056                            ZR2
     4,172,493; 4,117,179                            ZL1
     1,540,658

     2,311,397; 2,563,092; 2,678,153
     2,311,791; 2,311,792; 2,311,918;
     2,538,436; 2,550,170; 2,562,025;
     2,578,898; 2,734,714; 2,736,654;
     2,779,456

     95,398

     1,519,942; 1,530,792; 1,661,628
     579,485

     2,311,399


     2,631,880; 2,654,528

     2,750,257


     2,242,877; 2,683,719


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     3,739,089; 3,739,090; 3,739,092;
     3,739,093; 3,739,094; 3,739,096;
     3,739,097; 3,739,098
     4,482,475; 4,597,263; 4,601,524;
     4,601,525; 4,601,526; 4,601,527;
     4,719,036; 4,719,043

     1,491,293; 1,494,172; 2,311,917;
     2,545,133; 2,578,899; 2,666,595


     6,190,715; 6,639,689


     6,433,801


     3,650,649; 3,650,651; 3,650,654;
     3,650,657
     4,514,976; 4,597,272; 4,597,273;
     4,597,275; 4,597,292; 4,601,531

     2,700,379

     4,863,379; 4,863,380; 4,863,381;
     4,863,382; 4,863,383; 4,863,384;
     5,004,543
     1,506,101; 2,346,738

     1,898,835; 2,346,737; 2,346,904;
     2,349,761; 2,756,065

     2,721,375

     201,694; 1,900,372; 1,665,834;
     1,663,465; 1,782,739; 1,681,292;            CADILLAC
     1,700,662; 2,654,530; 3,609,853
     6,131,047                                      CT4
     6,119,389                                      CT5
     3,261,764                                      CTS
     2,931,763; 2,269,827; 3,520,169;           ESCALADE
     3,520,185
     2,792,883                                      ESV


                                        4
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     2,830,721                                      SRX
     5,018,505                                      XT5
     5,864,138                                      XT4
     6,097,037                                      XT6
     1,570,808


     1,768,653



     1,723,245



     1,686,536; 1,871,376; 1,872,415;
     2,659,597



     2,654,531; 2,750,240; 2,779,457


     4,642,212; 4,728,403; 4,827,580;
     4,827,581; 4,827,582; 4,837,265
     2,875,574
     1,470,781; 1,569,557; 2,449,301;
     2,455,330; 2,459,744; 2,459,750;              GMC
     2,461,681; 2,461,697; 2,700,392
     3,242,874                                    ACADIA
     5,751,578                                      AT4
     2,224,539                                    DENALI
     4,973,662                                  ELEVATION
     2,744,964                              LIKE NOTHING ELSE
     2,057,709                                   SAVANA
     1,573,202; 2,683,735                         SIERRA
     1,598,480                                    YUKON
     3,056,298                                      H2
     3,453,396; 3,457,399; 3,717,305                H3
     2,245,635; 2,414,500; 2,953,685;            HUMMER
     5,519,708
     2,631,795; 2,740,337; 2,654,456;
     2,954,605; 2,625,050

                                        5
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     2,625,051; 2,604,940; 2,707,075

     2,659,457

     860,907; 1,682,097; 1,685,308;
     1,685,358; 1,686,484; 1,694,262;              BUICK
     1,727,606; 2,625,102; 2,678,154
     5,464,849                                    AVENIR
     3,336,426                                   ENCLAVE
     4,342,824                                    ENCORE
     4,308,089; 4,333,887; 4,333,889;
                                                    GNX
     4,333,888; 4,333,886
     4,275,405; 4,275,368; 4,275,406;
                                            GRAND NATIONAL
     4,275,397; 4,275,355
     4,275,881; 4,275,882                          GSX
     2,926,906                                  LACROSSE
     2,693,400                                    REGAL
     5,082,334                                   RIVIERA
     5,570,976                                   TOURX
     511,603
     1,559,739; 1,690,241; 1,698,990;
     1,713,553; 1,741,359; 1,790,402;
     2,545,104; 2,625,101; 2,631,830;
     2,740,351

     1,473,052

     1,467,546; 1,701,857; 1,708,037;
     1,744,568; 2,539,540; 2,563,775;
                                                 PONTIAC
     2,563,776; 2,659,488; 2,683,733;
     2,685,227
     1,470,780; 2,700,393                        FIREBIRD
     2,686,610                                 BONNEVILLE
     1,470,782; 3,329,341; 3,329,342               FIERO
     2,686,611                                  GRAND AM
     2,752,897                                 GRAND PRIX
     2,522,859; 4,275,876; 4,275,877                GTO
     2,985,088; 3,401,756                       THE JUDGE
     4,279,990; 4,279,991                           WS6


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     1,495,970

     1,686,331; 1,697,696; 1,697,755;
     1,744,567; 2,539,542; 2,550,171;
     2,555,084; 2,570,842; 2,625,151;
     2,635,330; 2,683,734

     2,563,777



     1,494,384



     2,734,723



     4,334,451; 4,334,454



     4,338,289; 4,338,290




     4,338,292




     4,338,293; 4,338,294


     2,775,430; 1,745,728; 2,736,653;
                                               OLDSMOBILE
     1,744,632
     4,286,315; 4,286,316                           442

     2,777,839




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         2,727,122



         4,334,441




         4,331,923


         2,052,593                                           AC-DELCO
         6,883,181                                             DELCO
         2,216,695                                           AUTOTRAC
         4,189,148                                          DELCO REMY
         2,044,503                                           DEX-COOL
         6,725,091                                            DEXCOOL
         3,929,002                                             DEXOS
         833,566; 3,532,106                                   DEXRON
         2,010,805                                           RAPID FIRE
         2,457,659                                           TRANSYND
         310,672; 311,173; 311,656
         2,440,150; 2,440,149; 2,426,384;
         2,445,740; 2,445,739; 3,111,630;
         2,399,723; 2,445,737; 2,445,738;
         5,157,151
         5,751,569

         3,945,278

         4,653,624


         4,471,526


       The Court also finds that the injunctive relief previously granted in the Temporary

Restraining Order (“TRO”) [R. 24] should remain in place through the pendency of this litigation

and that issuing this Preliminary Injunction is warranted under Federal Rule of Civil Procedure 65.


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Evidence submitted in support of this Motion and in support of GM’s previously granted Motion

for Entry of a Temporary Restraining Order establishes that GM has demonstrated a likelihood of

success on the merits; that no remedy at law exists; and that GM will suffer irreparable harm if the

injunction is not granted. Specifically, GM has demonstrated a prima facie case of trademark

infringement because (1) the GM Trademarks are distinctive marks and are registered with the

U.S. Patent and Trademark Office on the Principal Register, (2) Defendants are not licensed or

authorized to use any of the GM Trademarks, and (3) Defendants’ use of the GM Trademarks is

causing a likelihood of confusion as to the origin or sponsorship of Defendants’ products with GM.

Furthermore, Defendants’ continued and unauthorized use of the GM Trademarks irreparably

harms GM through diminished goodwill and brand confidence, damage to GM’s reputation, and

loss of exclusivity. Monetary damages fail to address such damage and, therefore, GM has an

inadequate remedy at law. Moreover, the public interest is served by entry of this Preliminary

Injunction to dispel the public confusion created by Defendants’ actions. As such, the Court orders

that:

1.      Defendants, their officers, agents, servants, employees, attorneys, and other persons acting

        in active concert or participation with them be preliminarily enjoined and restrained from:

        a. using the GM Trademarks or any reproductions, counterfeit copies or colorable

           imitations thereof in any manner in connection with the distribution, marketing,

           advertising, offering for sale, or sale of any product that is not a genuine GM product

           or not authorized by GM to be sold in connection with the GM Trademarks;

        b. passing off, inducing, or enabling others to sell or pass off any product as a genuine

           GM product or any other product produced by GM, that is not GM’s or not produced




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            under the authorization, control or supervision of GM and approved by GM for sale

            under the GM Trademarks;

         c. committing any acts calculated to cause consumers to believe that Defendants’ products

            are those sold under the authorization, control or supervision of GM, or are sponsored

            by, approved by, or otherwise connected with GM;

         d. further infringing the GM Trademarks and damaging GM’s goodwill; and

         e. manufacturing, shipping, delivering, holding for sale, transferring or otherwise moving,

            storing, distributing, returning, or otherwise disposing of, in any manner, products or

            inventory not manufactured by or for GM, nor authorized by GM to be sold or offered

            for sale, and which bear any of GM’s trademarks, including the GM Trademarks, or

            any reproductions, counterfeit copies or colorable imitations thereof.

2.       Upon GM’s request, any third party with actual notice of this Order who is providing

         services for any of the Defendants, or in connection with any of Defendants’ Online

         Marketplaces, including, without limitation, any online marketplace platforms such as

         eBay, Inc. (“eBay”), AliExpress, Alibaba Group Holding Ltd. (“Alibaba”), Amazon.com,

         Inc. (“Amazon”), ContextLogic Inc. d/b/a Wish.com (“Wish.com”), Walmart Inc.

         (“Walmart”), Etsy, Inc. (“Etsy”), and DHgate (collectively, the “Third Party Providers”)

         shall, within ten (10) business days after receipt of such notice, provide to GM expedited

         discovery, limited to copies of documents and records in such person’s or entity’s

         possession or control sufficient to determine:

         a. the identities and locations of Defendants, their agents, servants, employees,

            confederates, attorneys, and any persons acting in concert or participation with them,

            including all known contact information and all associated e-mail addresses;



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         b. the nature of Defendants’ operations and all associated sales, methods of payment for

            services and financial information, including, without limitation, identifying

            information associated with the Online Marketplaces and Defendants’ financial

            accounts, as well as providing a full accounting of Defendants’ sales and listing history

            related to their respective Online Marketplaces; and

         c. any financial accounts owned or controlled by Defendants, including their agents,

            servants, employees, confederates, attorneys, and any persons acting in concert or

            participation with them, including such accounts residing with or under the control of

            any banks, savings and loan associations, payment processors or other financial

            institutions, including, without limitation, PayPal, Inc. (“PayPal”), eBay, Alipay,

            Alibaba, Ant Financial Services Group (“Ant Financial”), Amazon Pay, Wish.com,

            Walmart, Etsy, and DHgate, or other merchant account providers, payment providers,

            third party processors, and credit card associations (e.g., MasterCard and VISA).

3.       Upon GM’s request, those with notice of the injunction, including the Third Party Providers

         as defined in Paragraph 2, shall within ten (10) business days after receipt of such notice,

         disable and cease displaying any advertisements used by or associated with Defendants in

         connection with the sale of counterfeit and infringing goods using the GM Trademarks.

4.       Defendants shall not transfer or dispose of any money or other Defendants’ assets in any

         of Defendants’ financial accounts.

5.       Any Third Party Providers, including PayPal, eBay, Alipay, Alibaba, Ant Financial,

         Wish.com, Walmart, Etsy, DHgate, and Amazon Pay, shall, within ten (10) business days

         of receipt of this Order:




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         a. locate all accounts and funds connected to Defendants’ Seller Aliases and Online

            Marketplaces, including, but not limited to, any financial accounts connected to the

            information listed in Schedule A hereto; and

         b. restrain and enjoin any such accounts or funds from transferring or disposing of any

            money or other of Defendants’ assets until further ordered by the Court.

6.       GM is authorized to issue expedited written discovery to Defendants, pursuant to Federal

         Rules of Civil Procedure 33, 34 and 36, related to:

         a. the identities and locations of Defendants, their agents, servants, employees,

            confederates, attorneys, and any persons acting in concert or participation with them,

            including all known contact information, including any and all associated e-mail

            addresses; and

         b. the nature of Defendants’ operations and all associated sales, methods of payment for

            services and financial information, including, without limitation, identifying

            information associated with the Online Marketplaces and Defendants’ financial

            accounts, including Defendants’ sales and listing history related to their respective

            Online Marketplaces.

         GM is authorized to issue any such expedited discovery requests via e-mail. Defendants

         shall respond to any such discovery requests within ten (10) business days of being served

         via e-mail.

7.       GM may provide notice of these proceedings to Defendants, including service of process

         pursuant to Fed. R. Civ. P. 4(f)(3), and any future motions, by electronically publishing a

         link to the Complaint, this Order and other relevant documents on a website and by sending

         an e-mail to Defendants that includes a link to said website. The Clerk of the Court is



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         directed to issue a single original summons in the name of “The Partnerships and all other

         Defendants identified in the Complaint” that shall apply to all Defendants.           The

         combination of providing notice via electronic publication and e-mail, along with any

         notice that Defendants receive from payment processors, shall constitute notice reasonably

         calculated under all circumstances to apprise Defendants of the pendency of the action and

         afford them the opportunity to present their objections.

8.       Schedule A to the Complaint [R. 2], Exhibit 2 to the Declaration of Andrea Ankawi [R.

         19], and the TRO [R. 24] are unsealed.

9.       Any Defendant or other persons that is subject to this Order may appear and move to

         dissolve or modify the Order as permitted by and in compliance with the Federal Rules of

         Civil Procedure and Northern District of Illinois Local Rules.

10.      The $10,000 bond posted by GM shall remain with the Court until a Final disposition of

         this case or until this Preliminary Injunction is terminated.



                                                        IT IS SO ORDERED.

Dated: August 2, 2023
                                                        ____________________________________
                                                        United States District Judge
                                                        Franklin U. Valderrama




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General Motors LLC v. The Partnerships and Unincorporated Associations Identified on
                       Schedule "A" - Case No. 23-cv-04062


                                      Schedule A

                            Defendant Online Marketplaces
No                           URL                              Name / Seller Alias
                                                       Dongguan Kunde Industrial
     1 dgkunde.en.alibaba.com                          Investment Co., Ltd.

  2     eculock.en.alibaba.com/minisiteentrance.html   Shenzhen chezhihui Trade Co., Ltd
  3     obdok.en.alibaba.com/minisiteentrance.html     Sichuan Chensirui Technology Ltd.
  4     EXCEPTED                                       EXCEPTED
  5     EXCEPTED                                       EXCEPTED
  6     EXCEPTED                                       EXCEPTED
  7     EXCEPTED                                       EXCEPTED
  8     EXCEPTED                                       EXCEPTED
  9     EXCEPTED                                       EXCEPTED
 10     EXCEPTED                                       EXCEPTED
 11     EXCEPTED                                       EXCEPTED
 12     EXCEPTED                                       EXCEPTED
 13     EXCEPTED                                       EXCEPTED
 14     EXCEPTED                                       EXCEPTED

 15     EXCEPTED                                       EXCEPTED
 16     EXCEPTED                                       EXCEPTED
 17     EXCEPTED                                       EXCEPTED
 18     EXCEPTED                                       EXCEPTED
 19     EXCEPTED                                       EXCEPTED
 20     EXCEPTED                                       EXCEPTED
 21     EXCEPTED                                       EXCEPTED
 22     EXCEPTED                                       EXCEPTED
 23     EXCEPTED                                       EXCEPTED
 24     EXCEPTED                                       EXCEPTED
 25     EXCEPTED                                       EXCEPTED
 26     EXCEPTED                                       EXCEPTED
 27     EXCEPTED                                       EXCEPTED
 28     EXCEPTED                                       EXCEPTED

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 29   EXCEPTED                                    EXCEPTED
 30   EXCEPTED                                    EXCEPTED
 31   EXCEPTED                                    EXCEPTED
 32   EXCEPTED                                    EXCEPTED
 33   EXCEPTED                                    EXCEPTED
 34   EXCEPTED                                    EXCEPTED
 35   EXCEPTED                                    EXCEPTED
 36   amazon.com/sp?seller=A18OGFT0PPM1B8         A18OGFT0PPM1B8
 37   amazon.com/sp?seller=A1NW8UZECMIGLD         A1NW8UZECMIGLD
 38   amazon.com/sp?seller=A23FDASM22Q66T         A23FDASM22Q66T
 39   amazon.com/sp?seller=A3R7Z5VCRVHAS          Americando
 40   amazon.com/sp?seller=AYM3RDXT9TSR2          Auto PartsSpecialist
 41   amazon.com/sp?seller=A3QYFPAYLAXG97         Autoraz pro
 42   amazon.com/sp?seller=A18IIAGV588AU9         Beautiful banner
 43   amazon.com/sp?seller=A11BSTOKK998M2         Bluewei
 44   amazon.com/sp?seller=AA4KKNV7R7DXS          BuJunMingXiaoDian
                                                  changchunshiyuanluoyanshangmaoy
 45   amazon.com/sp?seller=A2MHCL0WXXIQON         ouxiangongsiabbc
 46   amazon.com/sp?seller=A1G34QBSZTN7H7         DeliveredOK
 47   amazon.com/sp?seller=A1BY6371J5J2TH         erzhuoshangmao
 48   amazon.com/sp?seller=A3QLO51YXCCTLQ         fengziandedianpu
 49   amazon.com/sp?seller=A2DWCBNTKCY4R9         foshanshidongmaixu
                                                  foshanshinanhaiquqicuiqishangmaoy
 50 amazon.com/sp?seller=A3B9TQE51NQUVA           ouxiangongsi
 51 amazon.com/sp?seller=AAQ04J1PNMZFA            guhaojingpin
 52 amazon.com/sp?seller=A9AAI89OKT4UO            guofeng9481
                                                  guoyangmaoyingshangmaoyouxiang
 53   amazon.com/sp?seller=A3TGA41W7IA111         ongsi
 54   amazon.com/sp?seller=AU5SRN6GBZ7UI          Hantong-Star
 55   amazon.com/sp?seller=A35ID3VH57RGHD         haodongshangmaoyouxi
 56   amazon.com/sp?seller=A2Z37OUJLHRBRB         Hayd_Nice
                                                  hefeitichaiwangluokejiyouxiangongs
 57   amazon.com/sp?seller=A1ELLHRME6C3DK         i
 58   ebay.com/str/2cn2582                        2cn2582
 59   ebay.com/usr/agm_parts                      agm_parts
 60   ebay.com/str/matsmat                        aozowoo
 61   ebay.com/str/autoparts2005                  autoparts2005
 62   ebay.com/usr/backlamp2023                   backlamp2023
 63   ebay.com/str/baolingsenmaoyiyouxiangongsi   baolingsenmaoyiyouxiangongsi
 64   ebay.com/usr/car.motorcycle.parts           car.motorcycle.parts
 65   ebay.com/str/chench-7203                    chench-7203
 66   ebay.com/str/chusehngming                   chusehngming

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 67   ebay.com/usr/coverassy2023                   coverassy2023
 68   ebay.com/usr/daisyyy                         daisyyy
 69   ebay.com/usr/dareconcepth0                   dareconcepth0
 70   ebay.com/str/eontend                         eontend
 71   ebay.com/str/ewinhuiying                     e-winshop
 72   ebay.com/str/good-motors-parts               good-motors-parts
 73   ebay.com/usr/h882017                         h882017
 74   ebay.com/usr/hain8576                        hain8576
 75   ebay.com/str/heyaoran                        heyaoran
 76   ebay.com/usr/hiyawell                        hiyawell
 77   ebay.com/str/hjnytt3                         hjnytt3
 78   ebay.com/usr/hopebonny                       hopebonny
 79   ebay.com/str/hothoting                       hot_hoting
 80   ebay.com/usr/hua-3513                        hua-3513
 81   ebay.com/usr/huahua-999                      huahua-999
 82   ebay.com/usr/huitengyue                      huitengyue
 83   ebay.com/usr/kayleexinbang3                  kayleexinbang3
 84   ebay.com/str/kelamayistore                   kelamayistore
 85   ebay.com/usr/kemoto3                         kemoto3
 86   walmart.com/seller/101288018                 Geernioy Home Furnishings
 87   walmart.com/seller/101339860                 Juyi Trading Co., Ltd
 88   walmart.com/seller/101290512                 MUCHENGGIFT LLC
 89   walmart.com/seller/101116123                 OBD EXPERTS
 90   walmart.com/seller/101296597                 OGFYGIFTS GROUP LLC
 91   walmart.com/seller/101268759                 Wangruiqi Furniture Decoration
 92   chinacardiags.com                            chinacardiags.com

 93 wish.com/merchant/5e8ac026c77ae32c89b1ef34     Courtney Smith

 94 wish.com/merchant/5fb88049f2f602255981902d     Cyuhong

 95 wish.com/merchant/5e859b0602a80024101349ff     Danza

 96 wish.com/merchant/5422761e90c7764124fb36e6     dinghaili fashion

 97   wish.com/merchant/5413adf2f8abc8347ba07e15   dingzhong fashion
 98   wish.com/merchant/5419bf5d4ad3ab50d852eaeb   dnltvbj supper-market
 99   wish.com/merchant/5eae7f5a2adba5508aeb4f43   Donna Manning34
100   wish.com/merchant/5e78567b2d03dd5aaea06f40   Doris Myres
101   wish.com/merchant/5e74592064f6b61bb147b2d2   dufangshop
102   wish.com/merchant/5e8aedd95a8fceddea4a8d08   Earnestine Bell
103   wish.com/merchant/5e87f2db99a1f9c365d44ed2   Ernest Hicks

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104   wish.com/merchant/5b93267b72a98757ef55d41e   Fashion wear students
105   wish.com/merchant/5f60595c9f6759d3d43e60ae   fengtainyang Store
106   wish.com/merchant/5965e966366c065f9efdc799   fengtin
107   wish.com/merchant/5e5de5c3cb7f72446a9d3dcd   Fensydone Bibs
108   wish.com/merchant/5e9b11d0da2ff2968442ba92   FFE6E6RR
109   wish.com/merchant/5ecb39b484e79f1e7ca6e5e2   fhuxyi
110   wish.com/merchant/5785ad37da4fbe731e100b63   flagchina
111   wish.com/merchant/5fa8f8046f95c4218472e59c   fuhan182
112   wish.com/merchant/541047717f086e583484a2a0   gaoliuyun fashion
113   wish.com/merchant/5acb58956be8734729117321   gaosongppfz
114   wish.com/merchant/5ec0e487664024a0b54f2b3d   gaosuwei5467
115   wish.com/merchant/5e7c302eb35476352d39e538   Gary Colliers
116   wish.com/merchant/5f882d586e6b916036b1d810   goodflagcap
117   wish.com/merchant/5fe6b452a6c07625cc45cadd   Granitemaster
118   wish.com/merchant/5eaec1027edfbd0fd647d468   Graylene Mcclanton45
119   wish.com/merchant/5ffd1df53f7d14294a6613b3   Grooming company boss
120   wish.com/merchant/5efad5e34f3ce02a1aee4be7   gtzrjinyan
121   wish.com/merchant/54100b20c5c2461c0583432a   guanqin fashion
122   wish.com/merchant/55cde99bb5a3cd4f8912c8d2   GZRIVERRUN
123   wish.com/merchant/5ef458c41319a26a8c82e008   hanbousqzzz
124   wish.com/merchant/5da694ab30115b0b5c752360   HEHUADP
125   wish.com/merchant/5e25a6f929e7863ea84cdfcf   heyan120
126   wish.com/merchant/6096a461acf3fa995e71554d   High quality auto parts 2009
127   wish.com/merchant/5e69f0931511dc6c9e6d52c6   Hkwid
128   wish.com/merchant/540fd5a97a9eb4242529e94a   huangjin fashion
129   wish.com/merchant/60ac8875396b3445c359e6b3   huangmei84637
130   wish.com/merchant/5aa9569754bd093084ff13b8   husjxuyandedian
131   wish.com/merchant/5ec7730918a38a6d5f78c445   HZHYU
132   wish.com/merchant/5ee58a715b2ec1100e0001ef   jack hey
133   wish.com/merchant/5e91a44f46be6a9683df1e20   Jackie DOWNARD
134   wish.com/merchant/5eaee4300b85d7aa19238906   Jcgdgxgfhcgcgvcgchvhcgv
135   wish.com/merchant/5e882108c77ae38f81b1f071   Jerome Lockhart
136   wish.com/merchant/5d46bdeff320406f3fa78630   jianweijun055
137   wish.com/merchant/5ee1b406a75a89090660d348   Jierbeinb Tangsy
138   wish.com/merchant/5420029b7541ce4593e7d223   jijiena fashion
139   wish.com/merchant/5ebb80abff621e5e60e94315   jijinp
140   wish.com/merchant/5e8483a9d63eaac838d81386   JosePO
141   wish.com/merchant/5e8d608d29e7861aa3e4047a   jyvguvji
142   wish.com/merchant/6045de8a0d989b6604ada047   kaikai7157
143   wish.com/merchant/561f1794bf8fe6160ed37015   kalu International company
144   wish.com/merchant/5eb05df4e3e3ac9a94f7045c   kelsiewhite11728972
145   wish.com/merchant/5e830ab56f26ee631ff7c9b2   Kimberly Rodriguez
146   wish.com/merchant/5ea2cd557c1b81906e95a7cd   ksjy

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147   wish.com/merchant/5e69084dc96e28c1808ffbaf   L lutechli
148   wish.com/merchant/5e58ac746fa7794cdd024215   leiyanga
149   wish.com/merchant/6046ef48f824f326b014a559   lianglihao7990
150   wish.com/merchant/608965a32219631f402e4c48   Liga billionaire
151   wish.com/merchant/6054346521089b582f8c04a7   likangning64436
152   wish.com/merchant/5f03d4fc80aca53a6549cae4   limiaomiaog
153   wish.com/merchant/5f7a93dc795c60829410ce15   lina Store me
154   wish.com/merchant/5eb3b32745b4f84d3b228247   linglongzhongxin
155   wish.com/merchant/541915087541ce28dcc2dbea   linjunli fashion
156   wish.com/merchant/542000079719cd3d4e8a52b3   linlihuan fashion
157   wish.com/merchant/612077b50e5784fea1cc9f2a   linlina31439
158   wish.com/merchant/5f646ab6cca643b7021a6a44   LiPing19
159   wish.com/merchant/5fc47afce74ab3519019d8d8   littlemistressuk
160   wish.com/merchant/604c43785ac73d4e8c97806d   liuboo2724
161   wish.com/merchant/541188e69acad808dc724881   liumomo fashion
162   wish.com/merchant/5f1d5437fc4e84309e079420   liuruosong08236
163   wish.com/merchant/5f6331e3f5c4ea35879809b4   LIUyi19840224R
164   wish.com/merchant/5410425a7f086e583a84a294   liweichao fashion
165   wish.com/merchant/54119e4a82b9ac08c970da32   lixueyi fashion
166   wish.com/merchant/60ac8f248b8e791f582c5b4b   liyongwang03007
167   wish.com/merchant/5adfe7036be8735907dc71d8   lizhixing
168   wish.com/merchant/60a870ae396b340382595b0b   liziyi3202
169   wish.com/merchant/5e87fb7deb54542580c04622   Lucille Calderon
170   wish.com/merchant/5e64855229e78633f105c99d   luhemeishop
171   wish.com/merchant/54200ed5f8abc805fa2ca7f0   luoxinxin fashion
172   wish.com/merchant/5eb0e2e6fb95acab460c177d   luxm
173   wish.com/merchant/5b30b32c7752c8142472617c   maiyefeng
174   wish.com/merchant/5e998a3aeece769014663fb4   majuys
175   wish.com/merchant/60a1ea1acb86da5ed30b1837   maoweijie668
176   wish.com/merchant/5e983fe5ea18a531c1cdd5a6   Maria S Perez
177   wish.com/merchant/5e8ee98fb63f824d00d67e4b   MarjorieUnanSfU
178   wish.com/merchant/60619d809beae68878933c2a   mawanjun2420
179   wish.com/merchant/5eb79ce260027435c5a2d470   MAXJI
180   wish.com/merchant/60583aa5e825100749f7f07d   mayouquan6310
181   wish.com/merchant/5f9bbe0ec934d7a299f27703   Mazhilingmu
182   wish.com/merchant/5e945f0c2522bc8b05c7688b   mcrisowypvvl




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